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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                      CRIMINAL NO. 1:14CR86-2
                                                    (Judge Keeley)


 AMANDA ISOLDE EISEMAN,

                    Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On January 5, 2015, the defendant, Amanda Isolde Eiseman,

 (“Eiseman”) appeared before United States Magistrate Judge John S.

 Kaull and moved this Court for permission to enter a plea of GUILTY

 to   Count    Twenty     of    the   Indictment.     Eiseman     stated   that   she

 understood     that     the    magistrate    judge    is   not   a   United States

 District Judge, and consented to pleading before the magistrate

 judge.     This Court had referred the guilty plea to the magistrate

 judge for the purposes of administering the allocution pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the    plea   was     knowingly    and    voluntarily     entered,    and

 recommending to this Court whether the plea should be accepted.

       Based      upon    the     government’s        proffer     establishing    an

 independent factual basis for the plea, the magistrate judge found

 that Eiseman was competent to enter a plea, that the plea was

 freely and voluntarily given, that she was aware of the nature of
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 the charges against her and the consequences of her plea, and that

 a factual basis existed for the tendered plea. On January 5, the

 magistrate   judge   entered   an   Opinion/Report    and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 76)

 finding a factual basis for the plea and recommended that this

 Court accept the plea of guilty to Count Twenty of the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the report and

 recommendation. On January 9, 2015, the government by Assistant

 United States Attorney Shawn A. Morgan (“Morgan”) responded to the

 R&R stating the government had no objection (dkt. no. 83). Eiseman

 did not file any objections.

      Accordingly, this Court AFFIRMS the magistrate judge’s R&R,

 ACCEPTS Eiseman’s plea, and ADJUGES her GUILTY of the crime charged

 in Count Twenty of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 acceptance of the proposed plea agreement and stipulated addendum



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 to the plea agreement, is DEFERRED until the Court has received and

 reviewed the presentence report prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

      1.    The    Probation      Officer     undertake     a   presentence

 investigation of AMANDA ISOLDE EISEMAN,        and prepare a presentence

 report for the Court;

      2.    The Government and Eiseman are to provide their versions

 of the offense to the probation officer by February 2, 2015;

      3.    The presentence report is to be disclosed to Eiseman,

 defense counsel, and the United States on or before March 20, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

 report on or before April 3, 2015;

      5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before April 17, 2015; and

      6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before May 1,

 2015.


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      Magistrate Judge Kaull remanded Eiseman to the custody of the

 United States Marshals.

      The   Court   will   conduct    the   sentencing    hearing   for   the

 defendant on Tuesday, May 19, 2015 at 12:15 P.M. at the Clarksburg,

 West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: January 26, 2015


                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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